                                      UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA

                                                        Minute Entry
Hearing Information:
                       Debtor:   ARCTIC CATERING, INC
                 Case Number:    2:18-BK-13118-EPB              Chapter: 11

          Date / Time / Room:    WEDNESDAY, NOVEMBER 14, 2018 11:30 AM 7TH FLOOR #703

         Bankruptcy Judge:       EDDWARD P. BALLINGER JR.
              Courtroom Clerk:   ANNETTE FRANCHELLO
               Reporter / ECR:   KAYLA COLASONT                                                                        0.00


Matters:
       1) CONTINUED Emergency Motion For Order Authorizing Continued Use of Existing Cash Management System, Bank
          Accounts, and Credit Card
          R / M #: 6 / 0

       2) STIPULATION FOR ORDER AUTHORIZING POST-PETITION USE OF CORPORATE CREDIT CARD FILED BY
          DEBTOR
          R / M #: 30 / 0

       3) CONTINUED Emergency Motion for Order Authorizing Payment of Pre-Petition Wages, Salaries, Employee Benefits, and
          Related Items
          R / M #: 7 / 0

       4) CONTINUED Emergency Motion For Order Authorizing Debtor To Incur Non-Ordinary Course Unsecured Debt Pursuant
          To 11 U.S.C. § 364(b)
          R / M #: 8 / 0

       5) CONTINUED Emergency Motion for Interim and Final Orders Authorizing Use of Cash Collateral Granting Replacement
          Liens and Setting Further Hearing on Use of Cash Collateral
          R / M #: 10 / 0



Appearances:

        ANDREW A. HARNISCH, ATTORNEY FOR ARCTIC CATERING, INC
        GRANT L. CARTWRIGHT, ATTORNEY FOR ARCTIC CATERING, INC
        DAVID GONZALES, REPRESENTATIVE OF THE DEBTOR
        CAROLYN JOHNSEN, ATTORNEY FOR LIQUID CAPITAL EXCHANGE, INC.
        LARRY WATSON, ATTORNEY FOR UNITED STATES TRUSTEE
        MICHAEL KING, ATTORNEY FOR FOOD SERVICES OF AMERICA
        STEVEN BERGER, ATTORNEY FOR EQUITY HOLDERS




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Proceedings:                                                                                                           1.00

          ITEM #5

          Mr. Harnisch informs the Court that he has uploaded a stipulated order to continue use of cash
          collateral through November 28, 2018. He notes that the hearing will be continued to that date.

          COURT: The Court will review the order.

          ITEM #1 & ITEM #2

          Mr. Harnisch notes that the Court has entered an order granting the Debtor's continued use of bank
          accounts and the like, with exception to the credit card. He notes that Judge Sala did not grant any
          relief on that portion of the motion. He has since filed a stipulation with Alliance Bank confirming their
          arrangement. He notes that the credit card is near its $100,000.00 limit. He has not received any
          objections.

          Mr. Watson has no objection.

          COURT: The Court will sign the stipulated order.

          ITEM # 3

          Mr. Harnisch notes that the Court has signed the order. However, the only outstanding issue is the
          reimbursement to an employee, Jaime Gonzales. He notes that he is not an equity holder. He does not
          believe there is any issue with paying the reimbursement.

          Mr. Watson states that counsel has provided a copy of the documentation showing it was a legitimate
          business expense. Therefore, he has no objection at this time.

          COURT: The Court notes the status of the matter.

          ITEM # 4

          Mr. Harnisch provides a review of the motion and Judge Sala's view. He states that the shareholder put
          in the $300,000.00 as an unsecured loan to the estate. The shareholder is asking that it be allowed as
          an administrative expense to be paid along with other administrative expenses. He has not received
          any objections to the motion but will address it as the Court sees fit.

          Mr. Watson does not agree with the treatment at this time.

          Mr. Harnisch asks that the Court set the matter for final hearing or a briefing schedule.

          Mr. Watson explains that the issue may lead to an evidentiary hearing. He states that it sounds like the
          money was already advanced prior to the bankruptcy filing. He does not know what the amount will be

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          captured as.

          The Court suggests continuing the matter to the next hearing to allow the parties to try and work it
          out.

          Mr. Harnisch agrees and asks that it be continued to the December 6, 2018 hearing.

          Mr. Watson agrees.

          COURT: IT IS ORDERED continuing this matter to December 6, 2018 at 10:00 a.m.

          Mr. Harnisch informs the Court that he is working closely with secured creditor Liquid Capital
          Exchange, on a DIP loan that will carry them through next year. He intends to file a motion for
          authorization once terms are reached. He notes that they are soliciting potential buyers for the
          company. If so, he may be filing a motion for sale.

          Mr. Cartwright explains that he filed two employment applications. He filed one for his law firm and has
          uploaded an order. He is requesting to be able to file monthly fee applications. He has spoken with the
          U.S. Trustee about it and are on the same page. He has also filed an employment application for
          accountants. He states that the accountants will not be working for the Debtor under their firm but will
          be working as hourly employees of the Debtor. He would prefer not to have them file fee applications.
          He answers the Court's questions.

          Mr. Watson states that he needs to continue discussion with counsel.

          Mr. Cartwright would like the Court to approve the accountants' employment. He suggests working
          with Mr. Watson to work out a form of order.

          The Court suggests continuing the matter to the November 28, 2018, hearing.

          Mr. Cartwright agrees.

          Ms. Johnsen would like to look at the order to make sure there are no cash collateral issues.

          COURT: The Court directs counsel to show the order to Ms. Johnsen. IT IS ORDERED setting the
          Application for an Order Authorizing the Debtor to Employ Accountants Marcus Losada and Lorelei
          Gonzales for November 28, 2018 at 10:00 a.m.




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